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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
                                                                                        10/30/2024
SUSAN COMPETELLO,

                                                Plaintiff,                  24-CV-5899 (JMF) (KHP)

                             -against-                                        SCHEDULING ORDER

ASH & ERIE, INC.,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         On October 29, 2024, the parties appeared for an Initial Case Management Conference.

After review of the pleadings and consultation with the parties, the following Scheduling Order

is entered pursuant to Rule 16 of the Federal Rules of Civil Procedure:

         Pleadings and Parties. The parties shall have until November 12, 2024, to amend the

pleadings or to join parties.

         Fact Discovery. The deadline to complete fact discovery is February 3, 2025.

         Depositions. The deadline to complete depositions is February 3, 2025. The parties are

limited to no more than 3 depositions per party. Absent an agreement between the parties or

an order from the Court, non-party depositions shall follow initial parties.

         Interrogatories. Initial sets of interrogatories shall be served by December 3, 2024. All

subsequent interrogatories must be served no later than 30 days prior to the discovery

deadline.

         Requests for Admission. Requests for admission must be served by December 3, 2024.
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       Requests for Production. Initial requests for production shall be exchanged by

December 3, 2024. All subsequent requests for production must be served no later than 30

days prior to the discovery deadline.

       Expert Discovery. The deadline to complete expert discovery is April 3, 2025.

Any affirmative expert report shall be served by February 3, 2025. Any rebuttal reports

shall be served by March 3, 2025. Any expert depositions shall be completed by

April 3, 2025.

       Accessibility Consultant Report. Defendant shall provide Plaintiff with a copy of

Defendant’s accessibility consultant report by November 29, 2024.

       Supplementation. Supplementations under Rule 26(e) must be made within a

reasonable period of time after discovery of such information.

       Discovery Disputes. The parties shall follow the Court’s Individual Procedures with

respect to any discovery disputes. See https://nysd.uscourts.gov/hon-katharine-h-parker.

Rule 1 and Rule 26(b)(1). Counsel shall comply with Rule 1 and Rule 26(b)(1) in the

conduct of discovery.

       Document Requests. Counsel shall be fully familiar with their obligations under Rules

34 and 26(g) and consider and discuss ways to ensure compliance and minimize disputes

regarding overbreadth and specificity of requests and responses. A failure to comply with this

responsibility carries serious consequences. Requests for any and all documents on a broad

topic are presumptively improper. Likewise, courts have held that an objection that does not

appropriately explain its grounds is forfeited. See, e.g., Fischer v. Forrest, No. 14 Civ. 01304

(PAE) (AJP), 2017 WL 773694, at *3 (S.D.N.Y. Feb. 28, 2017) (“[A]ny discovery response that


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does not comply with Rule 34’s requirement to state objections with specificity (and to clearly

indicate whether responsive material is being withheld on the basis of objection) will be

deemed a waiver of all objections (except as to privilege).”)

       Mediation. This case is referred to the Court-annexed Mediation Program for a

settlement conference. The parties are notified that Local Rule 83.9 and the Mediation Program

Procedures shall govern the mediation. The mediation will have no effect upon any scheduling

Order issued by this Court without leave of this Court. Mediators will be assigned based on the

nature of suit. Additional expertise requests should promptly be directed to the Mediation

Office. Please reference the following when corresponding with the Mediation Office. E-mail

MediationOffice@nysd.uscourts.gov, telephone (212) 805-0643, and facsimile (212) 805-0647.

Mediator to be assigned by January 29, 2025.

       The parties shall file a joint status letter by December 6, 2024, updating the Court on

the status of discovery.

       SO ORDERED.

DATED:         New York, New York
               October 30, 2024



                                             ________________________________
                                             KATHARINE H. PARKER
                                             United States Magistrate Judge




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